     Case 3:17-cv-02366-BAS-KSC      Document 487-15   Filed 07/10/20   PageID.33993
                                        Page 1 of 2



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17                                    (San Diego)
18
   AL OTRO LADO, Inc., et al.,             Case No. 3:17-cv-02366-BAS-KSC
19
20                        Plaintiffs,      Hon. Karen S. Crawford
21                     v.                    GOVERNMENT EXHIBIT 15
22
   Chad F. WOLF, Acting Secretary of         Lodged Under Seal
23
   Homeland Security, in his official ca-
24 pacity, et al.,
25
                             Defendants
26
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                                Page 2 of 2
